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                1 HANSON BRIDGETT LLP
                  RAFFI V. ZEROUNIAN, SBN 236388
                2 rzerounian@hansonbridgett.com
                  JUSTIN P. THIELE, SBN 311787
                3 Jthiele@hansonbridgett.com
                  601 W. 5th Street, 3rd Floor
                4 Los Angeles, California 90071
                  Telephone: (213) 395-7620
                5
                  GARNER K. WENG, SBN 191462
                6 gweng@hansonbridgett.com
                  425 Market Street, 26th Floor
                7 San Francisco, California 94105
                  Telephone: (415) 777-3200
                8
                  Attorneys for Plaintiﬀ and Counterclaim-
                9 Defendant LYMI Inc.
              10
               11                        UNITED STATES DISTRICT COURT
              12          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
              13
              14 LYMI Inc.,                                        Case No. 2:24-cv-4564-GW-RAO
              15                 Plaintiﬀ,                         Declaration of Justin �iele in
                                                                   Support of Joint Stipulation to
              16         v.                                        Modify Scheduling Order
              17 Few Moda, Inc.,                                   Judge: Hon. George H. Wu
              18                 Defendant.
              19
                    Few Moda, Inc.,
              20
                                 Counterclaimant,
              21
                         v.
              22
                    LYMI Inc.,
              23
                                 Counterclaim-Defendant.
              24
              25         I, Justin P. �iele, declare as follows:
              26         1.      I am an attorney duly admitted to practice before this Court. I am
              27 Counsel at Hanson Bridgett LLP, attorneys of record for Plaintiff and Counterclaim-
              28 Defendant LYMI Inc.. I have personal knowledge of the facts set forth herein,

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                1 except as to those stated on information and belief and, as to those, I am informed
                2 and believe them to be true. If called as a witness, I could and would competently
                3 testify to the matters stated herein.
                4        2.     Since the Court entered the Scheduling Order and discovery opened in
                5 this matter, the Parties have exchanged discovery requests. In particular,
                6 Reformation served interrogatories and requests for production on January 17, 2025;
                7 Defendant and Counterclaimant Few Moda Inc. (“Few Moda”) timely served
                8 written responses on February 18, 2025; and the Parties have met and conferred
                9 regarding Few Moda’s responses and document production. Few Moda served
              10 interrogatories and requests for production on March 4, 2025.
               11        3.     Since the Court entered the Scheduling Order and discovery opened in
              12 this matter, the Parties have exchanged discovery requests. In particular, Plaintiff
              13 and Counterclaim-Defendant LYMI Inc. (“Reformation”) served interrogatories and
              14 requests for production on January 17, 2025; Few Moda timely served written
              15 responses on February 18, 2025, which included materials concerning Few Moda’s
              16 sales of the allegedly infringing items; and the Parties have met and conferred
              17 regarding Few Moda’s responses and document production. Few Moda served
              18 interrogatories and requests for production on March 4, 2025.
              19         4.     The Parties have previously discussed settlement prior to the opening
              20 of the discovery in this case. The Parties have agreed to mediate at this juncture and
              21 are in the process of selecting a mediator and the date and location for mediation.
              22 The Parties anticipate engaging in mediation by the Court’s existing June 9, 2025
              23 deadline.
              24         5.     The Parties agree that good cause exists for a 60-day continuance of
              25 certain dates in the Court’s Scheduling Order because such a continuance will
              26 enable the Parties to timely complete discovery, conduct expert work and exchange
              27 expert reports, engage in mediation, and pursue meaningful settlement discussions.
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                1        6.     Aside from the Parties’ previous stipulation to allow Few Moda’s
                2 corrected re-filing of its Amended Answer and Counterclaim, the Parties have not
                3 previously requested any modification of trial and pretrial dates in this case.
                4        7.     I have specifically discussed the matters in this declaration with
                5 counsel for Few Moda, and the Parties are in agreement that good cause exists for
                6 this modification of the Court’s Scheduling Order.
                7        I declare under penalty of perjury under the laws of the United States of
                8 America that the foregoing is true and correct.
                9        Executed on this 14th day of March, 2025, at Los Angeles, California.
              10
               11                                                /s/ Justin �iele
                                                                 Justin P. �iele
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21628558.1                                           Declaration of Justin �iele
